
709 S.E.2d 930 (2011)
HEST TECHNOLOGIES, INC. and International Internet Technologies, LLC
v.
STATE of North Carolina, ex rel.; Beverly PURDUE, governor, in her official capacity; North Carolina Department of Crime Control and Public Safety; Secretary of Crime Control and Public Safety Reuben Young, in his official capacity; Alcohol Law Enforcement Division; Director of Alcohol Law Enforcement Division John Ledford, in his official capacity.
No. 169P11.
Supreme Court of North Carolina.
June 28, 2011.
Christopher G. Browning, Special Deputy Attorney General, for State of N.C.
Michael A. Grace, Winston-Salem, for International Internet Technologies.
Hal Askins, Special Deputy Attorney General, for State of N.C.
Adam Charnes, Winston-Salem, for International Internet Technologies.
Richard A. Coughlin, Greensboro, for Hest Technologies, Inc.
Elizabeth Brooks Scherer, Raleigh, for Hest Technologies, Inc.

ORDER
Upon consideration of the cross petition filed by Plaintiffs on the 13th of May 2011 in this matter for discretionary review under G.S. 7A-31 prior to a determination by the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 28th of June 2011."
